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                                                                                     AT ROANOKE,VA
                                                                                          MILFED

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                        IN TH E UN ITED STATES D ISTRICT CO URT                   JULi
                                                                                     AC      .-     LE
                       FOR THE W ESTERN DISTRICT OF V IR GIN IA                  BY;
                              CH ARLOTTESV ILLE D IV ISION                           D

UN ITED STATES OF A M EM CA                )        Crim inalA ction N o.3:14CR00025-01
                                           )        (CivilActionNo.3:16CV81171)
                                           )
                                           )       M E M O M ND U M O PIN IO N
SOLOM ON A .FM NCIS,                       )
                                           )       By:Hon.Glen E.Conrad
      D efendant.                          )       ChiefUnited StatesDistrictJudge


       Solomon A.Francis,afederalinmate proceeding pro se,filed thisaction asa m otion to

vacate,setaside,orcorrecthissentence under28U.S.C.j2255. Thegovernmenthasfiled a
m otion to dism iss,and the tim e allotted for Francis to respond has expired,m aking the m atter

ripe forconsideration. Forthe reasonsthatfollow ,the govem m ent'sm otion to dismiss willbe

granted and Francis'motion tovacatewillbedenied.

                                         Background

       On July 23,2014,Francis was nnm ed in a m ulti-count indictm ent returned by a grand

jury in the W estern DistrictofVirginia. The indictmentcharged Franciswith the following
offenses:conspiracy to distribute 280 gram s or m ore of cocaine base,in violation of21 U .S.C .

jj841(a)(1)and (b)(1)(A),and846(CotmtOne);conspiracytodistributeadetectableamountof
heroin,in violation of21U.S.C.jj 841(a)(1)and (b)(1)(C),and 846tcotmtTwo);distribution
of a detectable amountof cocaine base,in violation of 21 U.S.C.j 841(a)(1)and (b)(1)(C)
(CountSeventeen);distribution ofa detectable amountofheroin,in violation of21 U.S.C.j
841(a)(1) and (b)(1)(C)tcotmtEighteen);and distribution ofa detectable nmountofcocaine
base within 1,000 feetofaplayground,in violation of21U.S.C.jj 841(a)(1)and 860 (Cotmt
Twenty-one).
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       On February 6,2015,Francis entered pleas of guilty to Counts One and Two ofthe

indictm ent,pursuantto a written plea agreem ent. Underthe tenns ofthe plea agreem ent,the

parties agreed thatFrancis should be held responsible forbetween 1,000 and 3,000 kilogrnmsof

marijuanaforpurposesofcalculating hisbaseoffenselevelunderj2D1.1oftheUnited States
Sentencing Guidelines.1 The parties also stipulated thattilree enhancem ents w ere w arranted in

Francis'case:aone-levelenhancementtmderj2D1.2(a)(2)forengagingindrugtraffickingin a
protected location;a two-levelenhancementtmder j 2D1.1(b)(1)forpossessing a dangerous
weapon'
      ,andatwo-levelenhancementtmderj381.1(c)forbeingan organizer,leader,manager,
orsupervisor.

       For its part,the governm ent agreed to m ove to dism iss the rem aining counts of the

indictm entin which Francis was charged. The governm entalso agreed to recomm end a three-

levelreduction foracceptance ofresponsibility underj 3E1.1ofthe Sentencing Guidelines,if
Francis,in fact,accepted responsibility forhis actions and complied with his obligationstmder

the plea agreem ent. ln exchange,Francis agreed to w aive the right to appealhis sentence Sûon

any ground''exceptCfasto any issue which cnnnotbe waived,by law.'' Plea Agreem entat7,

DocketNo.7. Francisalso agreed to (twaive any right(helmay haveto collaterally attack,in
any f'uture proceeding,any order issued in this m atter,tm less such attack is based on ineffective

assistance ofcotm sel.'' ld.at8.

       Francis initialed every page of the plea agreement,including the page containing the

waiver of collateral-attack rights. By signing the plea agreem ent,Francis affinned thathe had


       lW hen a defendantis involved in the distribution ofmultiple controlled substances, the Sentencing
Guidelinesprovide foraconversion ofeach drug to itsmarijuanaequivalent,based on ratiossetforth in the
Guidelines.SeeU.S.S.G.j2D1.1,app.n.8.
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carefully reviewed every section of the agreem ent with his attorney, that he understood the

agreement,andthathewasvoluntarilyagreeingtoitsterms.Seejdaat12.  .




       During theplea hearing conducted pursuantto Rule 11oftheFederalRulesofCrim inal

Procedure, the court established that Francis possessed the capacity to m ake a voluntary,

intelligent,and inform ed decision. Rule 11 H'rg Tr.at7-8,DocketNo. 350-1. The courtalso

established thatFrancis understood the chargesto which he was pleading guilty, aswellas the

pup oseofthe hearing. 1d.

       The courtinstructed the prosecutorto review the charges to w hich Francis was pleading

guilty,the applicable statutory penalties,and the m ost im portant provisions of plea agreem ent

thatFrancishad reached with the govelmm ent.Theprosecutoradvised thatFrancishad agreedto

plead guilty to conspiracy to distribute 280 grams ormore ofcocaine base (CountOne)and
conspiracy to distributeheroin (CotmtTwo). TheprosecutorexplainedthatCotmtOnecarried
$çam andatory minimum sentenceoften yearsin prison,''alongwith (çatenn ofsupervised release

ofatleastfiveyears.''Id.at9. HeexplainedthatCountTwocairied aGûmaximum ...term (of
imprisonment)ofup to 20 years,plusaterm ofsupervised release ofatleastthreeyears.'' Id.
Theprosecutorthen outlined severalsectionsofthepleaagreement,including Section B(2),in
which Francisstipulated thatheshould beresponsibleforbetween 1,000 and 3,000 kilogram sof

marijuana,andthatheshould receiveenhancementsunderjj2D1.1(b)(1),2D1.2,and 3B1.1(c)
ofthe SentencingGuidelines. 1d.at10-11.Theprosecutoralso summarized SectionsC(1)and
(2)oftheplea agreement.Heexplained that,pursuanttothosesections,Franciswasçswaiving
hisrightto appealandcollaterally attackhisconvictionsvbjectto certain exceptions,''including
an exception for çtineffective assistance of counsel claim s.'' 1d.at 11. U pon being asked ifthe


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prosecutor's sum mary ofthe plea agreementwas consistentwith his own tmderstanding ofthe

agreem ent,Francisresponded in theaffirmative.Id.at12.

       The courtthen questioned Francis regarding hisunderstanding ofparticularterms ofthe

pleaagreement. Francisacknowledged thathehad agreed toStgiveg)up therightto appealany
issue to a higher court,...save forthose very limited num ber ofissues for which waiver of

appealisnotpennitted.''Id.at14,29.FrancisalsoaffirmedthathehadagreedtoSdgiveup ghis)
rightto collaterally attack the court'sjudgmentdown the road,save foran attack based on a
claim for ineffective assistance of counsel.'' 1d. at 14. A dditionally, the court specifically

inquired asto whether Francis was voluntarily pleading guilty. In response,Francis affirm ed

thatno one had prom ised him a particular outcom e orsentence,thatno one had attempted to

coerceorcompelhim to plead guilty,andthathewasiGconsidering apleaofguilty because(he
believedthatitwasjbestfor(himjandbecause(hewasq,infact,guilty ofthecrimeschargedin
Counts 1 and 2.'' ld.at 13.

       A s pm'tof his agreem ent w ith the governm ent,Francis signed a m ulti-page statem entof

facts. The prosecutor sum m arized the statem entoffactsduring the Rule 11 hearing,asfollow s:
                                                                                             I

       M r.Franciscam e to the Charlot4esville area from Culpeperand wasidentified as
       the leaderofa group ofindividualsthatbasically setup shop in the residence of
       Renee Hanis, w ho lived at Riverside A venue. M r. Francis and his co-
       conspiratorsweren'tliving there,butthatwassortofthe baseofoperationswhere
       they stored narcoticsand firearms. M r.Franciswould ddvearoundwith otherco-
       conspirators in vehicles,often times rented. Inform antsthatboughtdrugs from
       M r.Francis and co-conspirators said they alm ost always had a firearm in their
       possession. They described several different fireanns, but they described an
       assault rifle specitically. They described the color and its appearance. That
       firearm w as recovered f'
                               rom Renee H anis'shouse aftera shooting thatoccurred in
       April of 2014, and when shown the picture, several of the informants and
       cooperators said that that w as in the possession of M r. Francis and other co-
       conspirators when they w ould selldrugs.


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       There was heroin and crack cocaine involved with the conspiracy. M r.Francis
       waspresentduring severalrecorded and controlled buys. Therewere also phone
       recordsobtained.There wererentalvehiclerecords. Thereweresome cellphone
       dumps that occurred. Hotel records. There were several inform ants that
       pm icipated in controlled buys thatwere recorded. There were also several
       addicts thatcnm e in and gave statem entsand testified in f'
                                                                  rontofa federalgrand
      jury,describingtheorganizationandoperationoftheconspiracy.
       Quitefrankly,...Mr.Franciswassortoftheidentifiedpersonthatwastheleader
       and the organizerand would give instm ctionsto others. 1think he wasthe sotlrce
       ofthe cocaine and heroin from both N ew York,and an identitied,butunindicted
       localsource,and hewould distributeto hisco-conspiratorstohavethem sell.



       Severalofthe buys thatw ere recorded w ere either in frontof or rightbehind the
       apartm ent of Renee H arris on Riverside A venue, and that residence is w ithin a
       thousand feet of tw o different playgrounds . . . . So there w ere videotaped
       transactions occuning outside and in back of her house that w ere w ithin the
       protected location.

Id.at35-36.

       The court subsequently inquired of Francis as to whether the prosecutor's sllmm ary

represented tçthestate oftheevidencein Ethejcaseand whatmighthavebeenpresented if(theq
casehad gonetotrial.''ld.at39.Francisresponded in theaffinnative. 1d.

       Atthe conclusion ofthe hearing,the courtasked Franciswhetherhe was satisfied with

hisattorney'srepresentation,and whetherhe had any questionsregarding anything thathad been

said during thehearing.Francisindicated thathewassatisfied with theservicesprovided by his

attolmey,thathe understood lteverything''thathad been discussed during the hearing,and thathe

didnothaveany questionsforthecourt.JJ-,at40-41. Francisenteredpleasofguilty to Counts
O ne and Tw o of the indictm ent. The courtaccepted Francis'pleas and took his plea agreem ent

under advisem ent. 1d.at42.
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       Prior to the sentencing hearing, a probation officer prepared a presentence report.

Consistentwith the stipulations in the plea agreementand the statem entoffacts, the probation

oftk er determined that Francis should be held accountable for between 1,000 and 3,000

kilogramsofmarijuanaand,thus,subjectto abaseoffense levelof31,sincethe dnlg offenses
occurred nearprotectedlocations. SeeU.S.S.G.j2D1.2(a)(2)(applying abaseoffenselevelof
1,plustheoffense levelfrom j2D1.1applicableto the totalquantity ofcontrolled substances
involved intheoffense,iftheoffenseoccurred nearaprotectedlocation). Additionally,Francis
received a two-levelenhancem entforpossessing a dangerous weapon,a two-levelleadership

enhancem ent,and a tllree-level reduction for acceptance of responsibility,resulting in a total

offense level of 32. W hen com bined with a criminalhistory category of 111,Francis' total

offenselevelgaveriseto an advisory rangeofim prisonm entof151to 188m onths.

       The courtconducted Francis'sentencing hearing on October19,2015. Atthattim e,the

courtadopted the presentence reportand accepted the plea agreem ent. The courtalso granted a

substantialassistance motion filed by the govem m ent.After considering the factorssetforth in

18 U.S.C.j 3553(a),the courtimposed a totalterm of imprisonment of 90 months,to be
followedby afive-yearperiod ofsupervisedrelease.Thejudgmentwasentered onOctober21,
2015.Francisdid notappealhisconvictionsorsentence.

       On June 16, 2016, Francis tiled a çGmotion for reduction/m odification of supervised

release terms & sentence forgood cause,''in which he challenged the propriety ofthe Ct2 point

gun enhancem ent.'' D ocketN o.314. The courtconstnzed Francis'filing as a m otion to vacate,

setaside,orcorrecthissentenceunder28U.S.C.j2255.DocketNo.337.On August15,2016,
thecourtnotitied Francisofitsintentto constnze the docllmentasamotion forrelieftmderj

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2255,asrequiredby Castro v.United States,540U.S.375 (2003).DocketNo.338. Thecourt
gaveFrancis21daystoadvisethecourtastowhetherheobjectedtotheconstruction or,ifnot,
tofileacompletedfonn j2255motionstatinghisclaimsforreliefunderthestatute.
       On August 19,2016,Frmwis fled a form j 2255 motion,along with an attached
Ctsupplem ent''setting forth his claim for relief. DocketN o.343. In the supplem ent,Francis

requests that the court çdnmend his presentence report by deleting the dangerous weapon

enhancement''in orderto facilitatehisentry into theBureau ofPrisons'ResidentialDnzg Abuse

Progrnm (1$RDAP'').Id.
       On November4,2016,thegovernmentmovedtodismissFrancis'j 2255motion onthe
basis thatFrancisw aived the rightto collaterally attack his sentence. The courtnotitied Francis

ofthegovermnent'smotion,asrequiredby Roseborov.Garrison,528F.2d309 (4th Cir.1975),
and gave him 21 daysin which to tile aresponse. Asofthisdate,no response hasbeen filed.

The m atteris now ripe for review .

                                          D iscussion

       Stl-l-jheguilty plea and theoften concomitantpleabargain are importantcomponentsof
thiscountry'scriminaljustice system. Properly administered,they can benefita11concem ed.''
Blackledge v.Allison,431 U.S.63,71 (1977). Sç-f'
                                               he advantages ofplea bargains çcan be
secured,however,only ifdispositionsby guilty plea are accorded a greatm eastlre offinality.'''

UnitedStatesv.Lemaster,403 F.3d216,219-220 (4thCir.2005)(quotingBlackledge,431U.S.
at71).Tothisend,thegovenunentoften obtainswaiversofappellateand collateral-attackrights
from crim inal defendants as part of their plea agreem ents, and the U nited States Court of




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AppealsfortheFourth Circuithasheld thatsuch waiversarrvalid aslong asthey areknowingly

and voluntarily m ade. SeeLem aster,403F.3d at219-220.

       Thedeterm ination ofwhetherawaiverisknowing and voluntary dependsGtupon the

paMicular facts and circumstalw es surrounding the case,including the background,experience

and conductofthe accused''during the plea colloquy. United Statesv.D avis,954 F.2d 182,186

(4th Cir. 1992) (citation and internal quotation marks omitted). The Fourth Circuit has
emphasizedthat1$adefendant'ssolemndeclarationsinopencotu'taffirminggaplea)agreement..
  ûcal'
      ry a strong presumption ofverity'''and Gtpresent Ga fonnidable banier in any subsequent

collateralproceedings.''' United Statesv.W hite,366 F.3d 291,295 (4th Cir.2004)(quoting
Blackledge,431U.S.at74).Thus,ttintheabsenceofextraordinary circumstances,allegationsin
aj2255motionthatdirectlycontradictthepetitioner'ssworn statementsmadeduringaproperly
conducted Rule 11 colloquy are always Cpalpably incredible'and tpatently frivolous orfalse.'''

Lemaster,403 F.3d at221 (quoting Crawford v.United States,519 F.2d 347,350 (4th Cir.
 1975)). lfa districtcourtdetermines thata petitionerknowingly and voluntarily waived his
collateral-attack rights, and thatthe petitioner's c1aim s fall w ithin the scope of the waiver,z the

courtmustdismissthe j2255motion withoutaddressingthemeritsofthoseclaims. See1d.at
222.




        2The Fourth Circuit has recognized a narrow class of claim sthatfalloutside the scope of a valid
waiverofappellate orcollateral-attackrights.Issuesthatadefendantcouldnothavereasonably foreseen when
entering'into a plea agreement,such as the imposition of a sentence above the statutory maximum, the
imposition of a sentence based on an constitutionally impermissible factor such as race,United States v.
M arin,961F.2d493,496 (4th Cir.1992),orthecompletedenialofcounselatany stage oftheproceedings
following theentry oftheplea,United Statesv.Attar,38 F.3d727,732-733 (4th Cir.1994),falloutsidethe
scopeqfthewaiver.                               '

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       Having reviewed therecord in thiscase,the coul'
                                                     tconcludesthatFrancis'guilty plea and

hiswaiverofcollateral-attack rightswere knowing and voluntary. Francis initialed every page

ofthe plea agreem ent,including the page containing the waiverof collateral-attack rights. By

signing the
         )
            plea agreem ent,Francisaffirm ed thathe had carefully reviewed every section ofthe

agreem ent with his attorney,that he understood the agreement,and that he was voltmtmily

agreeing to its terms. Likewise, during the plea hearing, Francis acknowledged that he

understood the agreem ent,thatheknew thathe waswaiving hisrightto appealhissentence,and

thatheknew thathewasCsgivlingjup (his)righttocollaterally attack thecourt'sjudgmentdown
the road.'' Rule 11 H 'rg Tr.at 14. Francisalso confirm ed thathe w as satistied w ith the services

provided by his attorney,thatno one had forced him to enter into the plea agreem entorto plead

guilty, and that no one had m ade any prom ises other than those included as tenns of the plea

agreem ent.

       Francis' testim ony at the plea hearing conclusively establishes that he understood the

termsoftheplea agreement,including the waiverofcollateral-attack rights,and thathispleasof

guilty werem adeknowingly and voluntarily.Consequently,based on the existing record,and in

the absence of any extraordinary circum stances that w ould entitle Francis to an evidentiary

hearing,thecourtconcludesthatthewaiverisvalid and enforceable. Because Francis'j 2255
m otion does notchallenge the validity ofthe plea agreem entor assertany claim s thatw ould fall

outsidethe scopeofavalid waiverofcollateral-atlack rights,them otion isbarred by thewaiver.

       The court also concludes that Francis' challenge to the propriety of the firearm

erlhancem ent is withoutm erit. Section 2D 1.1 ofthe Sentencing Guidelines direds a district

courtto increase a defendant's base offense levelby two levels (tlijf a dangerous weapon

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 (including a firearm) was possessed''during the commission of the offense. U.S.S.G. j
 2D1.1(b)(1).TheFourthCircuithasheldthattheenhancementisappropriatewhen Sitheweapon
 was possessed in colmection with drug activity thatwas partofthe same cottrse of conductor

 com m on schem e as the offense ofconviction.'' U nited States v.M anigan,592 F.3d 621,630-31

 (4th Cir.2010)(citationandinternalquotationmarksomitted).
        ln this case,Francis stipulated,as partofhis plea agreem entw ith the governm ent,thata

 tw o-level firearm enhancem ent w as appropriate. The facts supporting the application of the

 enhancem entweresetforth in thestatem entoffactsagreed upon by thedefendant. Specifically,

 the defendantagreed,in pertinentpart,that:

        On oraboutApril27,2014,FRANCIS wastraveling in avehicle with severalof
        his corconspirators on Chesapeake Street (which is in the vicinity of co-
        conspiratorReneeHarris'apartmentat366RiversideAvenue).Hisvehicleanda
        second vehicle, occupied by additional co-conspirators, were shot at m ultiple
        times causing both vehiclesto crash. The'shooting isbelieved to have been in
        retaliation (forjtwo earliershootingsfrom December2013 and February 2014.
        A fterthe shooting,FR AN CIS and his co-conspirators fled. FR AN C IS w as found
        by 1aw enforcem ent inside of 366 Riverside A venue. A fter receiving consent
        from .co-conspirator R enee H anis to search the prem ises for w eapons and other
        involved individuals, 1aw enforcem ent recovered a concealed AK -47 rifle and
        partially-loaded m agazine. Severalinfonnantsstated thatm embersoftçculpeper
        & A ssociatesv'' and specifically FR AN CIS, w ere routinely mnned during dnlg
        sales and specitically described the above-m entioned A K -47.

 Statem entof Facts 3,D ocketN o.218. Such facts,w hich w ere also included in the presentence

 report,w ere clearly sufficientto supportthe application of the fireal'm erlhancem ent. M oreover,

 because Francis did notobjectto the report'sfactualfindings atthe sentencing hearing,Githe
 governmentgmetqitsburden ofprovingthosefactsby apreponderanceoftheevidence,andthe
 courtwas(sfreeto adoptthe Iindings ...withoutm ore specitic inquiry orexplanation.'' United

 Statesv.Revels,455F.3d 448,451n.2 (4th Cir.2006)(citationsatld intemalquotation marks
 omitted);see also United States v.Gilliam,987 F.2d 1009, 1013 (4th Cir. 1993) (ç;(Tjhe
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 Governmentcarriesitsburden ifadefendantfailstoproperly objectto arecommended finding
 inapresentencereportthatthecourtdeterminestobereliable.').
        ln the instantm otion,Frandis does notdeny thathe possessed a firearm or dispute the

 accuracy of the facts sum m arized in the statem ent of facts and the presentence report. Instead,

 hem erely requeststhatthe courtremove the fifearm enhancem entfrom hispresentence reportin

 orderto facilitate hisentry into RDAP. Atthisstage ofthe proceedings,however,the courtis

 withoutauthorityto grantsuch relief. SeeUnited Statesv.Hawkins,421F.App'x261,262(4th
 Cir.2011)(notingthatamotion to modifyapresentencereportmustbefiled within 14 daysof
 receiving the document)(citing Fed.R.Crim.P.32(9(1));see also United Statesv.Catabran,
 884F.2d 1288,1289 (9th Cir.1989)(çslojncethedistrictcourthasimposed sentence,the court
 lacksjurisdictionunderRule32tohearchallengesto apresentencereport.''). In theabsenceof
 anyviablechallengetothevalidityofhissentence,Francisisnotentitledtoreliefunderj2255.
                                           Conclusion

        For the reasons stated,the courtw illgrantthe governm ent's m otion to dism iss and deny

 Francis'j2255 motion.Additionally,becauseFrancishasfailedtomakeasubstantialshowing
 ofthe denialofa constitutionalright,the courtwilldeny a certificate of appealability. See 28

 U.S.C.j22534c).
        The Clerk isdirected to sendcertified copiesofthism emorandllm opinion and the

 accompanying ordertothe defendantand a11counselofrecord.

        DATED:This7 dayofMarch,2017.
                                                                               J
                                                ChiefUnited StatesD istrictJudge



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